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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

 

)
)
Vv. )
Cr. No. 18-10360-MLW
JOHN DOE, )
Defendant. )
MEMORANDUM AND ORDER
WOLF, D.J. June 16, 2023

The court has considered defendant Gregorio Andres Gonzelez
Sepulveda's! Motion for Compassionate Release under 18 U.S.C.
§3582(c) (1) (A) (Dkt. No. 205) (the "Motion") and the government's
Opposition (Dkt. No. 206). A hearing is not necessary. For the
reasons explained below, the Motion is being denied.

Gonzelez Sepulveda pled guilty to conspiring to distribute 40
grams or more of fentanyl, actually doing so, false representation
of a Social Security number, and Aggravated Identity Theft. On May
7, 2021, he was sentenced to serve 84 months in prison. J., Dkt.
No. 180.

In the Motion, Gonzelez Sepulveda argues for a reduction in
sentence in light of his pre-existing medical conditions and COVID-

19, pursuant to 18 U.S.C. §3582(c) (1) (A). Motion at 1, Dkt. No.

 

1 Prior to defendant's guilty plea, Gonzelez Sepulveda's true
name was unknown. This case is, therefore, captioned United States
v. John Doe. This Memorandum and Order uses Gonzelez Sepulveda's
true name.
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205. As risk factors, Gonzelez Sepulveda cites "all types of
medical complications, from heart disease to diabetes Type-2," as
well as "high blood pressure, problems with his vision and high
cholesterol." Id. Gonzelez Sepulveda also alleges that he suffered
from a "heart stroke." Id. It is unclear what Gonzelez Sepulveda
means by this and it is not mentioned in his medical records. See
generally Medical Rs., Dkt. No. 205-2. Gonzelez Sepulveda further
alleges that the water at FCI Fort Dix is undrinkable due to jet
fuel contamination and that the ceilings are covered in black mold,
which Gonzelez Sepulveda claims is a "life threat" for his lungs.
Motion at 1, Dkt. No. 1.

In deciding a motion for compassionate release under 18 U.S.C.
§3582(c) (1) (A), the court must consider the applicable 18 U.S.C.
§3553(a) sentencing factors and decide if extraordinary and
compelling reasons warrant the requested reduction.

The COVID-19 pandemic was extraordinary. However, it no
longer constitutes the emergency that it once did. Vaccinations
against COVID-19 are safe, effective, and readily available. On
May 11, 2023, the United States Department of Health and Human
Services ended the federal Public Health Emergency for COVID-19.
Fact Sheet: End of the COVID-19 Public Health Emergency, U.S. Dept.
Health & Hum. Servs. (May 9, 2023), https://www.hhs.gov-
/about/news/2023/05/09/fact-sheet-end-of-the-covid-19-public-—

health-emergency.html. COVID-19 is also well controlled within the

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Bureau of Prisons. As of June 12, 2023, FCI Fort Dix, where
Gonzelez Sepulveda is held, has no active COVID-19 cases among
inmates or staff. BOP COVID-19 Statistics, Fed. Bureau of Prisons
(last visited June 1, 2023), https://www.bop.gov/coronavirus/
covidi9 statistics.html.

Moreover, even if the COVID-19 pandemic had not ended,
Gonzelez Sepulveda would still not be entitled to Compassionate
Release. Gonzelez Sepulveda's medical records show that he is 48
years old with Type 2 diabetes and hypertension. See generally
Medical Rs., Dkt. No. 205-2. Diabetes is recognized by the Center
for Disease Control ("CDC") as a factor that makes a person "more
likely to get very sick from COVID-19," while hypertension is
"possibly" such a factor. People with Certain Medical Conditions,
CDC (Dec. 6, 2022), https: //www.cdc.gov/coronavirus/2019-
ncov/need-extra-precautions/people-with-medical-conditions.html.
During the COVID-19 pandemic, district courts in this circuit have
granted compassionate release for persons with diabetes and

hypertension. See, e.g., United States v. Ramirez, 459 F. Supp. 3d

 

333, 345 (D. Mass. 2020). But see United States v. Baez, No. 19-

 

CR-10250, 2020 WL 5535891, at *1 (D. Mass. Sept. 15, 2020) (denying
compassionate release to petitioner with type II diabetes and
hypertension, holding that safeguards are sufficient to protect

from infection).
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However, Gonzelez Sepulveda has already been infected with
COVID-19 and recovered. See Motion at 1-2, Dkt. No. 205. This

weighs in favor of denying his Motion. See United States v.

 

Canales-Ramos, 19 F.4th 561, 564, 567 (1st Cir. 2021) (affirming
denial of diabetic defendant's petition for compassionate release
when defendant had already contracted asymptomatic COVID-19);

United States v. Lopez, No. 19-CR-10459-06, 2022 WL 1308467, at *1

 

(D. Mass. May 2, 2022) (denying compassionate release to defendant
with type II diabetes, asthma, and long-term respiratory issues,
as defendant had already contracted and recovered from COVID-19);

United States v. Dunbar, 471 F. Supp. 3d 386, 389 (D. Mass. 2020)

 

(denying compassionate release to defendant with type II diabetes,
hypertension, and asthma, as defendant already tested positive for
COVID-19 without symptoms).

Furthermore, as previously noted, safe and effective
vaccinations are widely available. It is uncertain whether
Gonzelez Sepulveda has been vaccinated. Gonzelez Sepulveda's
attorney stated at sentencing that he has been vaccinated. May 6,
2021 Tr. at 44, Dkt. No. 199. The government's memorandum states
that Gonzelez Sepulveda has refused vaccination twice. Gov't Opp'n
at 6, Dkt. No. 206. The court has not received medical records
indicating whether or not Gonzelez Sepulveda has been vaccinated.
Regardless, the existence of the vaccine weighs against Gonzelez

Sepulveda's Motion. If Gonzelez Sepulveda has been vaccinated, the

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risk of his becoming infected and suffering greatly or dying is

diminished. See United States v. Gianelli, 534 F. Supp. 3d 161,

 

163 (D. Mass. 2021) (denying a diabetic defendant's petition for
compassionate release in part based on having received COVID-19
vaccination). If Gonzelez Sepulveda has refused vaccination, he
should not benefit from failing to take proper precautions to

reduce his risk. See United States v. Caine, No. 16-cr-00103, 2021

 

WL 2269974, at *6-7 (D. Me. June 3, 2021) (denying diabetic
defendant's motion for compassionate release in part based on his
refusal to become vaccinated).

As to the conditions at FCI Fort Dix, the court credits the
government's statement that Bureau of Prisons counsel has reported
that the "water supply has been tested by the state and federal
EPAs and found to be within appropriate levels." Gov't Opp'n at 6,
Dkt. No. 206. With regard to black mold, it is no more dangerous
than any other types of molds, and causes symptoms such as sneezing
and a runny nose only in those who are hypersensitive or allergic

to mold generally. See Can Black Mold Kill You?, WebMD (May 26,

 

2021), https://www.webmd.com/lung/can-black-mold-kill-you ("There
is no evidence that black mold causes symptoms such as fatigue,
memory loss, an inability to focus, or a headache. These symptoms
have been referred to as 'toxic mold syndrome' but are largely due
to media hype."). The existence of black mold does not justify, or

contribute to justifying, Gonzelez Sepulveda'’s release. See United

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States v. Engles, No. 19-132, 2022 WL 1062937 (D.D.C. 2022)
(denying compassionate release to a prisoner despite Type II
diabetes and black mold at FCI Fort Dix).

In addition, in this case the sentencing factors enumerated
in 18 U.S.C. §3553(a) "serve as an independent basis for [the]
decision to deny a compassionate-release motion." United States v.
Saccoccia, 10 F.4th 1, 8 (1st Cir. 2021). Gonzelez Sepulveda's
crimes were serious and repeated. He was sentenced for distributing
fentanyl on eight dates between May 2018 and August 2018, as well
as for false representation of a Social Security number and
Aggravated Identity Theft. Gonzelez Sepulveda was previously
sentenced to three years in state custody for dealing heroin in
2011. Other courts in the First Circuit have factored in a history
of selling drugs when denying motions for compassionate release in

similar circumstances. See, e.g., United States v. Greenlaw, No.

 

18-cr-00098, 2020 WL 5880467, at *1 (D. Me. Oct. 2, 2020) (denying
serial drug trafficker compassionate release based on likelihood

to reoffend, despite diabetes and COVID-19); United States v.

 

Jones, No. 15-cr-10148, 2020 WL 6205783, at *4 (D. Mass. Oct. 22,
2020) (denying a motion for compassionate release for a defendant
with diabetes and hypertension, in part because of his "history as
a recidivist drug offender"). A reduction in Gonzelez Sepulveda's
sentence now would not adequately protect the community. Nor would

it provide adequate deterrence to Gonzelez Sepulveda or to others.

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Finally,

the court has previously considered Gonzelez

Sepulveda's history of COVID-19 infection, diabetes, and general

health risks.

factors were
discussed at
defendant's

sentencing.

See May 6, 2021 Tr. at 40-44 (Dkt. No. 199). These
all raised by defense counsel at sentencing and
length. See id. There is no indication that the

situation has materially deteriorated since

In view of the foregoing, the Motion (Dkt. No. 205) is hereby

DENIED.

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UNITED STATES DISTRICT i
